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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT



ROBERT A. FORTUNATI,               :
Administrator of the Estate of     :
Joseph Fortunati, ROBERT A.        :
FORTUNATI, SUSAN FORTUNATI,        :
and MARK FORTUNATI,                :
                                   :
            Plaintiffs,            :
                                   :
            v.                     :         File No. 1:07-CV-143
                                   :
ANDREW CAMPAGNE, MARC THOMAS,      :
JEREMY HILL, TODD PROTZMAN,        :
ROB SNETSINGER, KARL GARDNER,      :
HUGH O’DONNELL, MIKE DUDLEY,       :
and WALTER GOODELL,                :
                                   :
            Defendants.            :



        RULING ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                            (Paper 85)

     This case arises out of events on June 24, 2006, when

Vermont State Police troopers shot Joseph Fortunati to death in

Corinth, Vermont.    Plaintiffs, all members of Mr. Fortunati’s

family, filed suit in federal court on behalf of the estate of

Joseph Fortunati, as well as in their personal capacities.

Defendants moved to dismiss the case shortly after it was filed;

this Court granted the motion in part and denied it in part.

Paper 19.    After one year of discovery, Defendants now move for

summary judgment.    Paper 85.
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I.   Factual Background

     A.      The Shooting of Joseph

     Most of the evidence describing the lead-up to Joseph’s

shooting comes from Vermont State Police sources, as does all of

the evidence describing the shooting itself.             Plaintiffs

“dispute” many facts to avoid conceding them,1 see Paper 87-3,

but they offer little evidence contradicting the police account.

Because Plaintiffs rely on the same officer testimony, post-

incident reports, and other police records as the Defendants, the

following facts are effectively undisputed.

     On June 23, 2006, the Vermont State Police received a call

from environmental workers attempting to take water samples in

the area of Copper Mine Road, a rural dirt road in Corinth,

Vermont.     Paper 85-3 at AG737.      The environmental workers

described two encounters with a man camped on the road, blocking

their path.      Id.    On one occasion the man’s behavior was

described as “agitated,” and one of the workers felt “unsure if

he would get violent,” and on the other occasion, the man ran off

into the woods.        Id.   The environmental workers reported that a

neighbor apparently had also encountered the man and changed her

jogging route to avoid him.         Id.       State Police troopers met the

environmental workers in the Corinth Town Hall.             Id.   While


     1
       See L.R. 7.1(c)(3) (deeming admitted all facts in
statement of undisputed facts “unless controverted by the
opposing party’s statement”).

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there, the troopers saw Susan Fortunati, who noted that the man

on Copper Mine Road was her step-son, Joseph Fortunati.           Id.

      Later on June 23, Joseph’s father, Robert Fortunati, came to

the State Police barracks to speak about Joseph.          Id.   Robert

told troopers that Joseph was bipolar and schizophrenic, had not

been taking his medication, and was in possession of a handgun.

Id.   Robert also told troopers that he and his family were

available to help with Joseph, as was a mental health worker from

the Clara Martin Center, who had dealt with Joseph in the past.

Id.

      On the morning of June 24, 2006, Robert and Susan Fortunati,

along with Joseph’s brother, Robert Jr., went to Joseph’s

campsite on Copper Mine Road to convince him to move to a more

isolated location.     Paper 85-5.    The family met Joseph and spoke

with him, but they were unsuccessful.        Id.   Joseph removed a

handgun from his belt, aimed it at his brother, threatened to

kill him, and told his family to leave.        Paper 85-6; Paper 85-5.

Robert Fortunati called the State Police and informed them of

what happened.   Id.    Robert asked to work with the police in

formulating a plan to take Joseph in and “restrain” him.           Id.

      Shortly after Robert called the State Police barracks, shift

commander Sergeant Todd Protzman contacted his superior officer,

Captain Walter Goodell.     Paper 85-9 at AG 866-67.       Protzman

briefed Goodell on the situation with Joseph Fortunati, and


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requested activation of the State Police’s Tactical Services Unit

(TSU).   Paper 85-24 at 59-61.     The TSU is a specialized, SWAT-

type unit within the Vermont State Police, used for dangerous or

high-stress situations.     Id. at 67.    Goodell asked his superiors

for activation of the TSU, and received permission.          Id. at 62-

63.

      Either before or after activating the TSU, the State Police

investigated Joseph’s background and learned he had previously

been in a car chase with police in which he displayed a firearm.

See Paper 85-35 at 107-08 (demonstrating that police had this

information by the time TSU members were later deployed).

Investigating officers also learned that Joseph had struggled

with state troopers as they attempted to bring him into custody,

resulting in injury to one trooper’s hand.         See id. (same).

      Upon authorization of the TSU, team members gathered at the

Bradford barracks for a briefing.       Id. at 83-85.     No particular

instruction was given on how to approach Joseph in light of his

mental illness.    Paper 85-36 at 35-36; Paper 85-30 at 158-59.

The goal was to “take him into custody.”        Paper 85-30 at 158.

      Shortly before 7:00 p.m. on June 24, 2006, the TSU was

deployed near Joseph’s campsite on Copper Mine Road.          Paper 85-9

at AG 867.   Other units stood back for support, including a

canine unit, id., and a hostage negotiations unit, Paper 85-24 at

97.   Seven TSU members advanced toward Joseph’s campsite.          Paper


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85-36 at 58.   They carried assault rifles, tasers, and shotguns

with beanbag ammunition, and wore camouflage uniforms with face

paint.   Id. at 66; Paper 85-30 at 95.       As they approached the

wooded site, the troopers split into two groups.          Paper 85-36 at

59-61.

      Joseph was standing on a hill in the road and saw one

trooper, Sergeant Robert Snetsinger, approaching.          Paper 85-35 at

29.   Joseph waved to Snetsinger, who identified himself as police

and asked Joseph to come down the hill to talk.          Id. at 29-31.

Joseph responded that instead Snetsinger could come up to where

he was standing.    Id. at 34.    After exchanging a few more words,

Joseph began to walk away from Snetsinger, up the hill toward his

campsite.   Id. at 35.    Moments later, Joseph saw the other group

of troopers who were approaching from a different direction.

Paper 85-30 at 38.    Sergeant Marc Thomas told Joseph to show his

hands and stay where he was, but Joseph turned and moved back in

the direction he had come.      Id. at 42; Paper 85-36 at 91-92.

      Shortly thereafter, Sergeant Jeremy Hill fired a shotgun

beanbag round at Joseph.     Paper 85-30 at 49; Paper 85-26 at 30-

31.   The round missed and Joseph ran into the woods.         Paper 85-26

at 34.   Troopers ran into the woods after Joseph, but he avoided

them and circled around to his car, which was parked in the road.

Paper 85-36 at 102-05; Paper 85-30 at 54-63.         Joseph opened the

driver’s side door of the car.      Paper 85-26 at 49.      Hill fired


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another beanbag round at him, which missed and smashed in the

car’s rear window.    Id.    Joseph leaned inside the car, apparently

rummaging around the floorboard or center console area.           Id. at

50; Paper 85-30 at 65.      Then Joseph straightened up and walked

away from his car toward Hill.      Paper 85-26 at 53-54.       Hill fired

two more beanbag rounds at Joseph, hitting him twice in the

stomach area.   Id. at 54.     Joseph turned and began moving into an

open field adjacent to the road, and as he moved away, Hill fired

a final beanbag round, hitting him in the back.          Id. at 57-60.

Throughout this time, troopers were giving Joseph orders to stop

and put his hands up.     See, e.g., id. at 45.

      Joseph entered the field and stopped, facing Sgt. Thomas,

who was already there.      Paper 85-36 at 110.     Thomas observed a

handgun in Joseph’s right hand, pointed down toward the ground.

Id.   Thomas notified the other troopers that Joseph had a gun,

and ordered him to put the gun down.        Id. at 110-11.    Agitated,

Joseph yelled that Thomas should just shoot him in the head, then

slowly put the gun in his waistband.        Id. at 111-13.

      Joseph turned away from Thomas and moved to a cluster of two

or three trees on the edge of the field, putting the trees

between himself and the troopers.       Id. at 117; Paper 85-35 at 51.

The troopers converged on Joseph’s location, approaching the

cluster of trees from different angles.        Paper 94-11 at 75-77.

Troopers yelled commands at Joseph, telling him to show his hands


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and step out from behind the trees; they may have ordered him to

drop his weapon.   Paper 85-36 at 122; Paper 85-35 at 77.         The

troopers also communicated more generally with Joseph, telling

him to be reasonable and that nobody needed to get hurt.          Paper

94-11 at 83; Paper 85-36 at 122.

     Joseph moved from side to side, looking around the cluster

of trees, Paper 94-11 at 91; Paper 85-26 at 72; Paper 85-36 at

122-23, and he may have stepped away from the trees briefly, or

showed his hands for a few moments.      See Paper 85-30 at 94

(recalling Joseph moving out from the trees to wave at a

helicopter, then moving behind the trees again); Paper 85-14 at

AG907 (“[Joseph] raised and lowered his hands a couple of times.

His hands would only be up for a second then he would lower them

back down to his side or grasp the tree and peer around it.”).

But see Paper 85-36 at 122-23 (one trooper’s memory that Joseph

did not move out from behind the trees).       Joseph was agitated and

moved erratically.   Paper 85-30 at 93.      Because Joseph was behind

the cluster of trees, troopers’ views of him were partially or

fully obstructed at times, depending on his movement.          See, e.g.,

Paper 85-26 at 72, 78; Paper 85-36 at 123.

     Sgt. Snetsinger moved around to one side and fired a beanbag

round, hitting Joseph in the back.      Paper 85-35 at 83.      Joseph

started to turn toward Snetsinger, and reached for the gun in his

waistband.   Paper 85-30 at 96; Paper 85-36 at 124; Paper 87-8 at


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86; Paper 85-20 at 64; Paper 85-14 at 3.           Joseph pulled the gun

out,2 at which point troopers Campagne and Thomas fired three

shots.     Paper 85-36 at 126; Paper 85-30 at 101-02.          Two bullets

hit Joseph, killing him.        Paper 85-34 at 10-11.

     As these events unfolded, two State Police troopers were at

the Fortunati residence with Joseph’s family.            Paper 87-17.      The

troopers knew the TSU had been deployed against Joseph, but did

not tell the Fortunatis.        Id.   Rather, the troopers had been

instructed to occupy the Fortunatis and keep them in their home,

while the TSU executed its mission.          Id.   After Joseph was

killed, the troopers left without informing the Fortunatis.

Paper 87-6 at 2.       The family learned of Joseph’s death hours

later through a relative or neighbor.           Paper 87-6 at 2.

     B.      The Family Encounter with the Police

     Upon hearing the news, Robert, Susan, and Mark Fortunati

(another of Joseph’s brothers) drove to the scene at Copper Mine

Road in Robert’s truck, where a second, subsidiary incident

ensued.     Id.   Unlike Joseph’s shooting, Plaintiffs are able to

offer their own independent recollection of what occurred here,

which is different from that of the police.

     According to the Plaintiffs, they stopped “by a police car,”

which was apparently parked in or near the road but did not



     2
       This moment in time is discussed in more detail below.
See Section III.A, infra.

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constitute a roadblock.      Paper 87-6 at 2.     After the truck

stopped and Robert got out, police pointed their guns and yelled

at the Fortunatis, pushing Robert into the side of his truck and

handcuffing him.     Id.   Police ordered Susan and Mark out of the

truck at gunpoint, and handcuffed them as well.           Id.    Plaintiffs

maintain they were not speeding as they approached the police,

they were not aggressive or violent, nor did they resist arrest

or verbally threaten the police.         Id.

       According to the Defendants, a police cruiser was parked

across the road, blocking it in order to maintain security at the

scene of the shooting.      See, e.g., Paper 85-7 at 1.         The

Fortunatis’ truck approached the roadblock “at a high rate of

speed,” looking like it was “going to ram the parked cruiser.”

Id.    “[A]t the last second,” the truck swerved around the police

car and stopped abruptly.      Id.   According to the police, Robert

immediately got out of the truck and approached an officer,

ignoring orders to stop and put his hands on his vehicle.             Id. at

1-2.    When Robert had approached to within arm’s reach, an

officer grabbed him and turned him around, pushing Robert into

his truck.    Id. at 2.    Robert resisted efforts to handcuff him.

Id.    Defendants maintain that Susan and Mark were handcuffed

because they were yelling at the police.         Id.

       Both sides’ briefs mention that the Fortunatis were taken to

the nearby barracks, where Robert was charged with negligent


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driving and resisting arrest, and Susan and Mark were released.

See Paper 85-1 at 18; Paper 87-2 at 12.           Robert’s charges were

apparently dropped.       See Paper 87-2 at 12.

II.   Standard of Review

      A party moving for summary judgment must provide sufficient

factual evidence to support a legal finding in his favor, then

point out the lack of evidence supporting his opponent’s legal

position.      Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325

(1986).     In response, the non-moving party must demonstrate

specific facts that support his legal position.            Id. at 324.     The

non-moving party may not rest on allegations in the pleadings or

unsupported assertions; rather, he must provide evidence in the

form of affidavits, depositions, interrogatory answers, and the

like.    Id.

      The court then assesses the evidence, viewing it in a light

most favorable to the non-moving party.           Adjustrite Sys., Inc. v.

GAB Bus. Serv., Inc., 145 F.3d 543, 547 (2d Cir. 1998).             If

“there is no genuine issue as to any material fact,” and the

facts establish that the moving party is entitled to judgment as

a matter of law, then the district court should grant the motion.

Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 322.            A “material

fact” is one that “might affect the outcome of the suit under the

governing law.”      Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1984).      A “genuine issue,” in turn, means the evidence


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diverges enough to support a finding in favor of either party.

Id.   If a genuine issue of material fact exists, the court must

deny the motion.    Fed. R. Civ. P. 56(c).

III. Discussion

      Plaintiffs bring both constitutional and state-law claims

against various combinations of Defendants based on Joseph’s

shooting and the Fortunati family’s arrest.

      A.   Fourth Amendment Claims for Shooting Joseph with
           Assault Rifles

      In Count I, Plaintiffs allege that Defendants Campagne and

Thomas violated Joseph’s Fourth Amendment rights by using

excessive force when they shot him with their assault rifles.

Plaintiffs base the claim on 42 U.S.C. § 1983, which provides a

civil cause of action for damages against anyone who, acting

under color of state law, deprives another of constitutional

rights. See 42 U.S.C. § 1983; Monroe v. Pape, 365 U.S. 167

(1961).

      Under the Fourth Amendment, police are limited to

“reasonable” force in effecting a seizure.         Graham v. Connor, 490

U.S. 386 (1989).    The reasonableness of a use of force depends on

“the severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers or others, and

whether he is actively resisting arrest or attempting to evade

arrest by flight.”     Id. at 396.    Killing a suspect constitutes a

seizure, Tennessee v. Garner, 471 U.S. 1, 7 (1985), and the

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Fourth Amendment reasonableness standard applies.         Scott v.

Harris, 550 U.S. 372, 382-83 (2007).       Using deadly force can be

reasonable, however, “if the suspect threatens the officer with a

weapon or there is probable cause to believe that he has

committed a crime involving the infliction or threatened

infliction of serious physical harm.”       Garner, 471 U.S. at 11.

     In general, “[t]he ‘reasonableness’ of a particular use of

force must be judged from the perspective of a reasonable officer

on the scene, rather than with the 20/20 vision of hindsight.”

Graham, 490 U.S. at 396.     The reasonableness inquiry is also

limited to “circumstances immediately prior to and at the moment

[the police] made the split-second decision to employ deadly

force.” Salim v. Proulx, 93 F.3d 86, 92 (2d Cir. 1996).          District

courts in the Second Circuit are precluded from taking a broader

view and considering, for example, whether the police created the

need for deadly force in the first place.        Id.

     Defendants Campagne and Thomas assert qualified immunity as

a defense to Plaintiffs’ Fourth Amendment claim.         Paper 85-1 at

30-33.    Under qualified immunity doctrine, government actors are

not liable for damages unless they “violate clearly established

statutory or constitutional rights of which a reasonable person

would have known.”    Harlow v. Fitzgerald, 457 U.S. 800, 818

(1982).   The qualified immunity inquiry has two steps.         First,

the court asks whether a plaintiff has shown facts that violate a


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constitutional right.    Second, if a violation is shown, the court

asks whether the right in question was “clearly established” at

the time of violation.    See Saucier v. Katz, 533 U.S. 194 (2001)

(clarifying the two-step inquiry), modified by Pearson v.

Callahan, 129 S. Ct. 808 (2009) (holding that courts can reverse

the order if desired).    The defendant receives qualified immunity

unless both prongs are answered in the affirmative.          Pearson, 129

S. Ct. at 815-16.

     Plaintiffs’ claims against Campagne and Thomas can be

resolved on the first prong of qualified immunity analysis.

Under this prong, the Court must examine the merits of

Plaintiffs’ Fourth Amendment claim, and therefore must determine

whether Campagne and Thomas’s actions were objectively

reasonable.   Graham, 490 U.S. at 396.      Relevant factors include

whether Joseph was attempting to escape the officers, what his

suspected crime was, and whether he was threatening the police or

bystanders with harm.    Id..   In this case, the controlling factor

is whether Joseph was threatening the police with immediate harm

at the moment Campagne and Thomas shot him.3


     3
       The other Graham factors are relevant, but not controlling
in this situation. As for Joseph’s suspected crime, the police
had probable cause to believe he had committed aggravated assault
earlier that day when he pointed a gun at his family. Paper 85-
6. Police were also concerned about this happening again, given
earlier reports of passers-by encountering Joseph on the road.
See Paper 85-3 at AG737. Neither was in progress at the time of
the shooting, however. In terms of attempting to escape, Joseph
walked or jogged away from the police, Paper 85-26 at 29; at one

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     Plaintiffs assert several reasons why that this crucial fact

is disputed and should be decided by a jury.4        To begin,

Plaintiffs argue the evidence is unclear whether Joseph even drew

his gun, and if so, what he was doing with it.         See Paper 87-2 at

15-18; Paper 99 at 6-8.     Plaintiffs correctly point out that the

troopers’ accounts vary in describing what happened after Sgt.

Snetsinger shot Joseph with his beanbag shotgun.         One trooper

reported that Joseph drew his gun and pointed it at the police.



point he ran to avoid them, but then returned to the general
campsite area, Paper 85-30 at 54-63. In the moment that Joseph
was actually shot, he was more or less stationary behind a tree.
Paper 85-11 at AG894. That said, Joseph was disobeying police
orders throughout the incident, and generally attempting to avoid
the troopers. Paper 85-36 at 91-93, 122. All of these facts are
essentially undisputed, but on their own – absent an immediate
threat of serious harm to the police – they would not have made
it reasonable to shoot Joseph. See Garner, 471 U.S. at 11.
     Furthermore, Salim makes clear that courts in the Second
Circuit should focus on the circumstances immediately prior to
the use of deadly force. Salim, 93 F.3d at 92. This is true
even if the police made earlier mistakes that ultimately created
the need for deadly force. Id. As a result, the critical
question is whether Joseph was threatening the troopers with
immediate and serious harm at or around the moment he was shot.
     4
       As an overarching matter, Plaintiffs point out that the
only surviving witnesses are police officers; because Joseph is
dead, “‘the witness most likely to contradict [the police
officer’s] story . . . is unable to testify.’” O’Bert ex rel.
O’Bert v. Vargo, 331 F.3d 29, 37 (2d Cir. 2003) (quoting Scott v.
Henrich, 39 F.3d 912, 915 (9th Cir. 1994) (alteration in
original)). In this situation, courts are to consider
circumstantial evidence that could undermine police officers’
stories, and “‘not simply accept what may be a self-serving
account by the police officer.’” Id. Yet as explained above, the
evidence hangs together, and even with O’Bert’s heightened
scrutiny there is no genuine dispute about whether Joseph was
threatening the police with harm in the moment he was shot.

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Paper 87-19 at 27.        Another trooper reported Joseph drawing his

weapon in a “fast aggressive motion,” and raising it up to chest-

level, yet with the barrel pointed down.           Paper 85-36 at 124,

126.        Another trooper saw him reach toward the front of his

pants, yet because Joseph’s back was turned, could not see his

hand.        Paper 94-7 at 86-87; Paper 85-10 at AG911.      Another

trooper described Joseph drawing his gun in a “deliberate”

motion, then holding it in a “low-ready” position.             Paper 94-11

at 96-106; Paper 85-11 at AG894-AG895.          Another trooper reported

Joseph reaching toward his waistband, where his gun was located.5

Paper 85-12 at AG903.        Another trooper described Joseph drawing

his handgun “in an aggressive motion.”          Paper 85-14 at AG907.

The final trooper was away from the scene and did not see what

happened.        Paper 85-15 at AG898.

       While the accounts vary slightly, this Court finds there is

no genuine issue as to whether Joseph threatened the troopers

with his gun.        All observers report him making a rapid motion

toward his gun in response to Sgt. Snetsinger’s beanbag, in a

context strongly suggesting his intent or readiness to use the

gun.        See, e.g., Paper 85-36 at 124 (describing Joseph reaching

toward his gun and the trooper’s thought that Joseph “was going



        5
       This was Sgt. Hill. From Hill’s post-incident report and
the portions of Hill’s deposition submitted by the parties, it is
unclear to what extent Hill could see Joseph. See Paper 85-12;
Paper 85-26; Paper 87-9; Paper 94-9.

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to shoot Sergeant Snetsinger”); Paper 85-14 at AG907 (describing

Joseph drawing his gun and the trooper’s fear that Joseph “was

pulling the gun out to shoot at me or other members of my team”).

Small disagreements over the gun’s exact positioning are not

enough to create a genuine issue of fact, given that Joseph

grabbed his gun and appeared ready to shoot.        See, e.g., Gaddis

ex rel. Gaddis v. Redford Township, 364 F.3d 763, 773 (6th Cir.

2004) (“This sort of minor conflict of perception is common and

is not sufficient to create a material dispute of fact as to the

officers’ credibility.”); Anderson v. Russell, 247 F.3d 125, 130-

31 (4th Cir. 2001) (“In a rapidly evolving situation such as this

one, a witness’s account of the event will rarely, if ever,

coincide perfectly with [another witness’s] perceptions

. . . .”).

     Plaintiffs next argue that Joseph could have been pulling

out his gun in order to surrender it, rather than to shoot at the

officers.    Paper 87-2 at 23-25.    They note the troopers were

giving Joseph commands to drop his weapon, and suggest that his

motion toward the gun could have been an attempt to comply with

orders.   Id.   This argument fails on the facts.       As an initial

matter, it is unclear whether Thomas ever ordered Joseph to drop

his gun when Joseph was behind the trees,6 but even if he did,


     6
      Sgt. Thomas stated in his deposition that he was
“continuously” giving Joseph orders to drop the gun. Paper 87-11
at 122. However, reading Thomas’s deposition answer, his

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Plaintiffs’ theory that Joseph drew his gun in response – to

surrender it – is not plausible.         All accounts agree that

Joseph’s action was a response to Snetsinger’s beanbag shot, not

a response to a verbal order.       See, e.g., Paper 85-36 at 124;

Paper 85-30 at 95-96.     The evidence also consistently describes

Joseph’s motion as threatening, not as suggestive of surrender.

See, e.g., Paper 85-14 at AG907; Paper 85-13 at AG923, Paper 85-

36 at 124.   Moreover, the descriptions of what Joseph did with

the gun after drawing it also contradict the idea of surrendering

it.   See Paper 85-11 (holding gun in “low-ready” position); Paper

85-13 at AG923-AG924 (pointing gun at troopers); Paper 85-36 at

124, 126 (raising gun to chest-level).         Because there is no

factual support for Plaintiffs’ theory, it fails to create a

“genuine” issue of fact.      Anderson, 477 U.S. at 248.




“continuously” statement could be referring to just the period of
time when Joseph was behind the trees (if the statement is
interpreted as a direct response to the question), or it could
refer to the entire time the troopers had contact with Joseph (if
the statement is interpreted as a general preamble or
introduction to his answer). See Paper 87-11 at 121-22. By
contrast, the only words Thomas could clearly remember saying
when Joseph was behind the trees was that nobody needed to get
hurt. Id. When Joseph was behind the trees, other troopers
recall orders for him to show his hands, and fail to mention any
orders to drop the gun. See, e.g., Paper 85-15 at AG898; Paper
85-12 at AG903; Paper 85-14 at AG907. Indeed, some evidence
explicitly contradicts Plaintiffs’ assertion that Thomas gave the
command to Joseph when he was behind the trees. See Paper 85-30
at 91-92 (trooper Magnant recalling that no TSU members gave
Joseph a command to drop the gun when Joseph was behind the
trees).

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     Plaintiffs also dispute various background issues that bear

on the degree of danger experienced by the troopers when Joseph

drew his gun. In particular, they claim a genuine issue exists as

to how much cover the troopers had when they advanced on Joseph.

Defendants assert that the troopers were exposed in the open

field, except for Snetsinger and Campagne, who “approached

through a thin line of saplings to [Joseph’s] left side.” Paper

85-1 at 15.   With Joseph using the trees for cover, the troopers’

relative exposure put them at a tactical disadvantage, presumably

increasing the danger they faced.       Plaintiffs, by contrast, point

to statements of a forensic investigator noting that Thomas’s

bullet casings were found in a “wooded area,” Paper 87-2 at 17,

with the implication that the troopers had substantial cover and

faced less imminent danger.     When read in context, however, the

investigator’s statement indicates only “very low brush,” not

actual woods.   Paper 94-14 at 31.      Also, as Defendants point out,

the location of the casings is not necessarily the same as that

of the troopers.   Paper 94-21 at 158-60.       For these reasons

Plaintiffs’ argument overstates the factual discrepancies.              Even

if there were a genuine factual dispute about the level of cover

– open field versus low brush – it would not be material, because

such a small difference would not change the reasonableness of

Campagne and Thomas’s decision to fire when faced with Joseph

reaching for his gun in a threatening manner.         See Estate of


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Sowards v. City of Trenton, 125 F. App’x 31, 38-39 (6th Cir.

2005) (unpublished).    Similarly, Plaintiffs’ effort to question

the distance between the troopers and Joseph fails to create a

material issue.    See Paper 87-2 at 18.     The troopers were well

within the range of Joseph’s .22-caliber Beretta, and given

Joseph’s threatening motion, the precise measurements are not

material in determining whether the officers reasonably perceived

an imminent danger.

     Plaintiffs finally seek to avoid summary judgment by

claiming the police were dishonest and covered up the true facts

of Joseph’s killing.    See Paper 87-2 at 13-18.       In particular,

Plaintiffs point to statements by police officers and others

immediately after the shooting that troopers shot Joseph because

he had opened fire on them.     Id.     Later police accounts dropped

this assertion.    See, e.g., Paper 94-19 at 54-55.       Plaintiffs

call this a “cover-up,” and believe it undermines the credibility

of all police evidence in this case.       Paper 87-2 at 16; Paper 99-

1 at 3.    Accordingly, Plaintiffs argue, a jury should have a

chance to decide whether and how much of the police evidence to

believe.    Paper 87-2 at 16; Paper 99-1 at 3.      Defendants point

out that the TSU members never described Joseph firing his gun in

their reports and depositions, and suggest the rumor may have

arisen from non-TSU officers misinterpreting radio traffic during




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the incident (mistaking “shots fired” for “under fire”).           See

Paper 94-1 at 14-15.

     This Court disposes of Plaintiffs’ “cover-up” argument for

several reasons.   First, on these facts, the inference of bad

faith is too weak.    As Defendants point out, there are many

possible ways for confusion and contradictory stories to develop,

most of which do not involve bad faith.        Absent more, the

contradictory stories are not enough to raise a genuine issue of

bad faith. Second, even inferring bad faith and allowing a jury

to determine credibility would not change the legal outcome.             The

police depositions and reports describing Joseph’s shooting

generally hang together, as noted above, so even if a jury were

to credit only selective parts of the evidence – those most

favorable to Plaintiffs – the overall narrative would remain

largely unchanged.    To reach a significantly different

conclusion, a jury not only would have to discredit the police

testimony, but would also need some other believable evidence.

In this case none exists.     Finally, Defendants correctly note

that bad faith in itself does not affect Fourth Amendment

reasonableness, which is an objective inquiry.         See Graham, 490

U.S. at 397.   Plaintiffs’ “cover-up” argument therefore fails to

change the analysis.

     For these reasons, no genuine issue of material fact exists

regarding the events immediately surrounding the shooting, and


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Plaintiffs’ Fourth Amendment excessive force claim against

Campagne and Thomas can be determined on summary judgment.              Even

viewing the facts in a light most favorable to Plaintiffs, it is

clear that after Sgt. Snetsinger shot Joseph with a beanbag, he

drew his gun and appeared ready to use it.        Because the facts

show an imminent threat of harm to the troopers, this Court finds

Campagne and Thomas’s decision to fire on Joseph was objectively

reasonable and did not violate the Fourth Amendment.          See Salim,

93 F.3d at 92 (“In such circumstances, no rational jury could

find [the police officer’s] decision to use deadly force ‘was so

flawed that no reasonable officer would have made a similar

choice.’” (quoting Lennon v. Miller, 66 F.3d 416, 425 (2d Cir.

1995))).   As a result, Defendants Campagne and Thomas are

entitled to qualified immunity, and the Court grants Defendants’

Motion for Summary Judgment with respect to Plaintiffs’ Fourth

Amendment claims in Count I.

     B.    Fourth Amendment Claims for Shooting Joseph with
           Beanbags

     Count II alleges that Defendants Hill and Snetsinger used

excessive force when they shot Joseph with beanbags, violating

his Fourth Amendment rights.      Non-lethal force is subject to the

same “objective reasonableness” standard under the Fourth

Amendment as deadly force.     Scott, 550 U.S. at 382-83.       The

facts, however, must demonstrate a correspondingly lower level of

exigency in order to be “reasonable.”       Id.   Defendants assert

                                   21
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qualified immunity, Paper 85-1 at 30-33, so this Court’s first

task is to determine whether a constitutional violation occurred.

Pearson, 129 S. Ct. 808.

     Plaintiffs do not argue that a genuine issue of material

fact exists with respect to the beanbag shootings and surrounding

circumstances, Paper 87-2 at 19-23, and the facts are essentially

undisputed.   Thus, Count II is subject to resolution on summary

judgment.   Plaintiffs instead assert that shooting Joseph with

beanbags was not objectively reasonable as a matter of law.             Id.

They point out Joseph did not have a visible weapon at the time

Hill shot him, nor was Joseph combative or assaulting the

troopers.   Id.   They also note the Vermont State Police’s use of

force policy, under which a subject generally should be combative

or assaulting the police before beanbag shotguns are used.7             See

Paper 87-19 at 88-90; Paper 94-2.

     Defendants highlight different facts, arguing that Hill and

Snetsinger’s use of force was reasonable.        Paper 85-1 at 24-27.



     7
      Plaintiffs additionally refer to the International
Association of Chiefs of Police Training Key No. 274, which
recommends ways to approach mentally disturbed individuals.
Paper 87-28. The IACP guidelines, however, are not particularly
useful in resolving the question of reasonableness here.
Training Key No. 274 recommends approaching mentally ill
individuals in non-threatening ways, so as to not excite them.
Id. at 3. Yet the Training Key also states that “physical
restraint is sometimes necessary” and officers may need to use
force – though they should “use only as much force as necessary.”
Id. at 4. Taken together, these instructions do not answer the
underlying question of when force is and is not necessary.

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In particular, they point out that Joseph was known to have

threatened his family with a gun earlier that day, so troopers

were operating on the assumption that he was still armed.           Id.

Joseph had already rummaged around in his car by the time the

first beanbag shots hit him, strengthening the inference that he

was armed.8   Id. at 24.   Troopers also knew Joseph had resisted

previous attempts to take him into custody.        Id.   Throughout, he

was disobeying orders, and when Snetsinger shot him, Joseph was

taking cover behind a tree, which gave him a tactical advantage

against the troopers.9     Id.

     Viewing the facts in a light most favorable to Plaintiffs, a

jury could find Snetsinger and Hill’s actions objectively

unreasonable.   Joseph’s threat to kill his brother was eight or

nine hours earlier, and, per Salim, could be disregarded as not

part of the circumstances “immediately prior to” the incident.

See O’Bert, 331 F.3d at 39-40 (using logic of Salim to disregard

plaintiff’s verbal threat against police, which occurred at an

earlier point in time).     And although the troopers suspected



     8
       Hill apparently fired his first beanbag round at Joseph
before Joseph had reached the car, spurring Joseph to run into
the woods. Paper 85-30 at 49. This round missed, however, and
is not the basis of Plaintiffs’ excessive force claim.
     9
       Defendants also mention Joseph trying to access his car –
which could contain weapons, or could be a vehicle for escape or
causing harm – but all shots that hit Joseph were fired after
Joseph had finished rummaging around in his car. See Paper 85-
26.

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Joseph was armed at the time Hill shot him (and knew so at the

time Snetsinger shot him), Joseph was never acting combative and

never threatened to use his weapon.       To the extent that a jury

could find that shooting Joseph with beanbags was unreasonable,

this Court should resolve the first prong of qualified immunity

analysis in Plaintiffs’ favor.      Cf. Woodward v. Town of

Brattleboro, 148 F. App’x 13 (2d Cir. 2005) (unpublished)

(reversing a grant of summary judgment to defendants where

appellate court believed this Court had failed to consider all

facts favorable to plaintiff).

     But even if this Court finds a Fourth Amendment violation,

the Defendants are entitled to qualified immunity on the second

prong.   Judge Sessions recently laid out the second step as

follows:

     The second step of the qualified immunity analysis asks
     whether the officials' actions violated “clearly
     established statutory or constitutional rights of which
     a reasonable person would have known.” Jones v.
     Parmley, 465 F.3d 46, 55 (2d. Cir.2006) (quoting Hope
     v. Pelzer, 536 U.S. 730, 739 (2002)). “A right is
     clearly established if (1) the law is defined with
     reasonable clarity, (2) the Supreme Court or the Second
     Circuit has recognized the right, and (3) a reasonable
     defendant [would] have understood from the existing law
     that [his] conduct was unlawful.” Anderson v. Recore,
     317 F.3d 194, 197 (2d Cir.2003). The right must be
     clearly established “in light of the specific context
     of the case.” Saucier, 533 U.S. at 201. The focus of
     this inquiry is on “whether it would be clear to a
     reasonable officer that his conduct was unlawful in the
     situation he confronted.” Id. at 202.




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Keene v. Schneider, No. 2:07-CV-00079, 2007 WL 2463270, at *4 (D.

Vt. Aug. 28, 2007) (alterations in original).         “The right of an

individual not to be subjected to excessive force has long been

clearly established,” Calamia v. New York, 879 F.2d 1025, 1036

(2d Cir. 1989), so the inquiry in this case comes down to whether

Snetsinger and Hill’s mistake – believing it was reasonable to

shoot Joseph with beanbag rounds when in fact it was not – was

itself reasonable.10

     As described above, the facts in this case make it a close

question whether Snetsinger and Hill used excessive force in

shooting Joseph with beanbag rounds.       Because the question is

rather close, this Court finds Snetsinger and Hill’s mistake a

reasonable one, and accordingly grants them qualified immunity.11


     10
       The second step of qualified immunity “inherently makes
for confusion,” because the inquiry “looks to the reasonableness
of an officer's belief that he acted lawfully after the officer
is found to have been unreasonable in his conduct.” Stephenson
v. Doe, 332 F.3d 68, 80 n.15 (2d Cir. 2003). Nevertheless, the
Supreme Court in Saucier clearly intended the second step of the
inquiry to mean something different from the first, and to create
an additional level of deference to law enforcement officers.
See Saucier, 533 U.S. at 202.
     11
       In arguing against this conclusion, Plaintiffs rely
primarily on Deorle v. Rutherford, 272 F.3d 1272 (9th Cir. 2001),
an out-of-circuit case with facts roughly similar to ours. In
Deorle, as here, the plaintiff was mentally unstable, was
ignoring police orders, yet was not aggressively threatening the
police (although the plaintiff had made sporadic verbal threats
earlier). As the plaintiff walked toward a police officer, the
officer fired a shotgun beanbag round. The round went off-target
and hit the plaintiff in the eye, causing severe injury. The
Ninth Circuit viewed the facts most favorably to the plaintiff,
found excessive force, and denied qualified immunity at both

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See Saucier, 533 U.S. at 206 (“Qualified immunity operates . . .

to protect officers from the sometimes ‘hazy border between

excessive and acceptable force.’” (quoting Priester v. Riviera

Beach, 208 F.3d 919, 926-27 (11th Cir. 2000))).         As a result,

this Court grants summary judgment to Defendants with respect to

the Fourth Amendment claims in Count II.

     C.   Fourth Amendment Claims for Authorizing the TSU

     In Count IV, Plaintiffs allege Sgt. Todd Protzman and

Captain Walter Goodell violated Joseph’s Fourth Amendment right

to be free of excessive force when they activated the TSU.

Defendants move for summary judgment on this claim, arguing that

the Fourth Amendment does not cover a decision to use SWAT-type

units, and even if it did, the decision was objectively

reasonable in this case.12    Paper 85-1 at 20-24.


steps of the inquiry. Id. at 1286.
     While that case provides a useful reference point, its
outcome is not controlling because the main facts on which the
Ninth Circuit relied are not analogous to this case. In Deorle,
the plaintiff had committed no serious crime or threatened to
hurt anyone but himself, he was effectively contained by
encircling police, and he posed no serious threat to the
officers. Id. at 1285. In this case, Joseph threatened to kill
his brother earlier that day, was suspected (and later known) to
be armed with a handgun, known to be capable of using it, acting
erratically, and had resisted the police in the past. On these
facts, the question of reasonableness is much closer than that in
Deorle, and to the extent Snetsinger and Hill made a mistake, it
was a reasonable one.
     12
       Defendants also argue that as a factual matter, Sgt.
Protzman’s role was simply to “notify Captain Goodell of the
situation and present facts to him.” Paper 85-1 at 21. Because
Protzman “did not have the authority to activate the TSU, and []

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      As this Court noted in ruling on Defendants’ motion to

dismiss, Second Circuit law is unclear on whether the Fourth

Amendment encompasses the decision to activate a SWAT team.

Paper 19 at 11-13.     The Tenth Circuit has recognized a Fourth

Amendment claim based on the decision to use a SWAT team,

reasoning that “[t]he decision to deploy a SWAT team . . .

necessarily involves the decision to make an overwhelming show of

force – force far greater than that normally applied in police

encounters with citizens.”      Overdorff ex rel. Holland v.

Harrington, 268 F.3d 1179, 1190 (10th Cir. 2001).          The court in

Harrington continued:

      The decision to use a SWAT team to make a “dynamic
      entry” into a residence constitutes conduct
      “immediately connected with the seizure” because it
      determines the degree of force initially to be applied
      in effecting the seizure itself. If, as Garner
      instructs, “it is plain that reasonableness depends on
      not only when a seizure is made, but also how it is
      carried out,” 471 U.S. at 8, 105 S.Ct. 1694, then the
      decision to deploy a SWAT team to execute a warrant
      must be “reasonable” because it largely determines how
      the seizure is carried out, thereby determining the
      extent of the intrusion on the individual’s Fourth
      Amendment interests.

Id.   Accordingly, the Tenth Circuit held that the decision to use

a SWAT team should be evaluated under the Fourth Circuit’s

objective reasonableness standard.        Id. (citing Garner, 471 U.S.



had no role in planning their mission,” Defendants urge summary
judgment with respect to Protzman. Id. This issue need not be
addressed because, as explained above, Plaintiffs’ claim fails
due to qualified immunity.

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at 8).   The Third Circuit agreed.      See Estate of Smith v.

Marasco, 430 F.3d 140, 149-50 (3d Cir. 2005); Estate of Smith v.

Marasco, 318 F.3d 497, 516-18 (3d Cir. 2003).

     The parties have pointed to no Second Circuit cases

addressing this issue; one district court within the Second

Circuit has taken the Tenth/Third Circuit approach.          Citing

Harrington and Marasco, the District of Connecticut evaluated a

Fourth Amendment claim based on authorizing the use of a SWAT

team, and denied the defendants’ motion for summary judgment.

Warren v. Williams, No. 304CV537, 2006 WL 860998, at *27-30 (D.

Conn. Mar. 31, 2006).

     Defendants argue against the Tenth/Third Circuit approach,

claiming the logic of Harrington and Marasco conflicts with the

Second Circuit’s holding in Salim that claims for “creat[ing] a

situation in which the use of [] force bec[omes] necessary” are

not cognizable under the Fourth Amendment.        Salim, 93 F.3d at 92.

Defendants also point to Seventh and Eighth Circuit cases holding

the Fourth Amendment covers only seizures, not events leading up

to seizures, Cole v. Bone, 993 F.2d 1328, 1333 (8th Cir. 1993),

and that the Fourth Amendment “does not require officers to use

the least intrusive or even less intrusive alternatives in search

and seizure cases,” Plakas v. Drinski, 19 F.3d 1143, 1149 (7th

Cir. 1994).   See Paper 85-1 at 20-21.      As a result, Defendants




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conclude, the decision to activate a SWAT team cannot be the

basis for a Fourth Amendment excessive force claim.          Id.

     Defendants’ arguments do not foreclose the Tenth/Third

Circuit approach, even in light of Salim.        As an initial matter,

Salim’s holding (that creating the need for force is irrelevant

under the Fourth Amendment) was called into question by recent

Supreme Court precedent.13    And even if Salim remains good law,

the Fourth Amendment claim in that case was based solely on the

act of shooting the plaintiff; there was no claim based on

authorizing an excessive level of force against the plaintiff.

The Seventh and Eighth Circuit cases cited by Defendants are out-

of-circuit and simply represent general propositions.          They do

not necessarily dictate an outcome to the specific question of

whether authorizing a SWAT team can form the basis for a Fourth

Amendment claim, in this circuit.       See Warren, 2006 WL 860998, at

*27-30.


     13
       In Scott v. Harris, the suspect’s actions helped create
the need for force, as he refused to surrender and led the police
on a high-speed chase through a populated area. Scott, 550 U.S.
at 372. In the course of scrutinizing the objective
reasonableness of the police’s use of force, the Supreme Court
explicitly stated that “[c]ulpability is relevant.” Id. at 384
n.10 (emphasis in original). The Court found the use of force to
be reasonable, based at least in part on the suspect having
created the need for it. Id. at 384. This logic could easily be
applied in reverse to a situation where the police created the
need for force, making the use of force by police correspondingly
less reasonable. Because Scott’s language is relatively narrow,
and the logic needs a slight extension to apply in reverse, Scott
clearly does not overrule Salim directly. It at least calls into
question, however, the breadth of Salim’s holding.

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     In any event, this Court need not resolve the question of

whether authorizing a SWAT team is cognizable under the Fourth

Amendment, because even if it were, Protzman and Goodell would

not be liable for authorizing the TSU.       Assuming such a claim is

possible, the objective reasonableness standard applies, as does

the usual qualified immunity framework.        See Harrington, 268 F.3d

at 1190; Marasco, 430 F.3d at 149.       Thus, for the first prong of

qualified immunity analysis, this Court asks whether Protzman and

Goodell’s actions were objectively reasonable.

     Plaintiffs attempt to create a genuine issue of material

fact with respect to reasonableness by asserting that Protzman

and Goodell were motivated by personal animosity toward Robert

Fortunati, Joseph’s father, when they authorized the TSU.           Paper

87-2 at 26-27.   This fails to create a material issue, however,

because Fourth Amendment reasonableness is an objective concept,

evaluated without respect to the officers’ “underlying intent or

motivation.”   Graham, 490 U.S. at 397.      Even if Protzman and

Goodell were motivated by personal animosity, so long as the

objective facts of the situation justified using the TSU, their

act would be reasonable.     Id.   Thus, Plaintiffs fail to show a

genuine issue of material fact and the claim can be resolved on

summary judgment.

     As to whether it was reasonable to authorize the TSU, facts

before the Court cut both ways.      On the one hand, the police knew


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Joseph was armed and unstable, and had threatened to kill members

of his family earlier in the day.       Paper 85-24 at 60-63.      The

police were explicitly warned by Robert Fortunati that Joseph was

capable of shooting them, and even regular bulletproof vests

might not be enough to protect the police.        Paper 85-4; Paper 85-

33 at 14.   Joseph was also located in the woods, a tactically

difficult situation for which regular Vermont State Police

troopers were not trained.     Paper 85-24 at 65-67.      On the other

hand, the police knew Joseph was mentally ill, Paper 87-4 at 63,

Paper 85-33 at 26-27, 127, he was not actively threatening anyone

at that moment, Paper 87-4 at 118-21, the area was fairly remote,

Paper 85-33 at 24-25, and the only people he had threatened were

his family, who had actively approached him, id. at 135.

     Viewing the facts most favorably to Plaintiffs, a jury could

find the decision to use the TSU unreasonable.         It is a close

call, because the police knew Joseph had a weapon and was

unstable, but a jury could weigh the facts, note Joseph was not

actively threatening anyone, and conclude a lower degree of force

was warranted.

     On the second prong, however, Protzman and Goodell receive

qualified immunity.    Because the facts make reasonableness a

close question, to the extent Protzman and Goodell made a

mistake, the mistake itself was reasonable. See Saucier, 533 U.S.

at 206; Marasco, 430 F.3d at 150.       In addition, the law is not


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“clearly established” to the level of specificity required.

Saucier, 533 U.S. at 201.     The general right to be free of

excessive force is well-established, see Graham, 490 U.S. at 386,

but the “more particularized” question of whether authorizing a

SWAT team can constitute excessive force is not clear in this

circuit.    Saucier, 533 U.S. at 202.     As a result, Protzman and

Goodell are entitled to qualified immunity, see Pearson, 129 S.

Ct. at 823, and the Court grants summary judgment to Defendants

on the Fourth Amendment claims in Count IV.

     D.     State Law Gross Negligence Claims

     Plaintiffs assert state law claims for gross negligence in

Counts I, II, and IV, based on the same underlying facts:

shooting Joseph with bullets, shooting Joseph with beanbags, and

authorizing the TSU, respectively.       On this motion for summary

judgment, the parties have devoted very little time to

Plaintiffs’ state law claims.14

     Under Vermont law, gross negligence requires the usual

negligence elements: duty, breach, causation, and damages.

Powers v. Office of Child Support, 795 A.2d 1259, 1265 (Vt.

2002).    In showing breach, a plaintiff must provide “facts that

demonstrate that an individual defendant heedlessly and palpably

violated a legal duty owed to plaintiff.”        Id. at 126 (citing


     14
       With over 100 pages of total briefing and approximately
1000 pages of total filings, each side devotes only one paragraph
to Plaintiffs’ state law claims.

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Mellin v. Flood Brook Union Sch. Dist., 790 A.2d 408, 423

(2001)).   Ordinary carelessness does not suffice; the breach must

“‘amount[] to a failure to exercise even a slight degree of

care,’” in order to prevail on a claim of gross negligence.

Hardingham v. United Counseling Serv., Inc., 672 A.2d 480, 482

(1995) (quoting Rivard v. Roy, 196 A.2d 497, 500 (1963)).

     Gross negligence is usually a question for the jury, but

courts can resolve gross negligence claims on summary judgment if

“reasonable persons cannot differ on the question” of whether the

facts meet the legal standard.      Id. at 1266 (citing Hardingham,

672 A.2d at 482).    Here, summary judgment is appropriate, as the

facts are essentially undisputed, and Plaintiffs fail to make out

a claim for gross negligence as a matter of law.

     As an initial matter, it is unclear what duty the Defendants

owed to Joseph, in their actions as law enforcement agents.             Cf.

Powers, 795 A.2d at 1265-66 (finding no duty owed by employees of

state agency to persons served by the agency).         Plaintiffs’ brief

fails even to mention the elements of gross negligence, much less

a specific duty that was breached.

     Even assuming Defendants had a duty of care toward Joseph,

their conduct simply does not rise to the level of culpability

required for gross negligence.      The facts of this case show a few

questionable decisions, some perhaps preferable alternatives that

were not pursued, and a generally force-oriented approach.              This


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does not amount to the wholesale abdication of care required for

gross negligence.       Cf. id. (“What is alleged in [the] complaint

is simple incompetence, inaccurate record keeping, and clerical

errors. Such claims do not rise to the level of gross

negligence”).      Thus, Defendants are entitled to summary judgment

on the gross negligence claims in Counts I, II, and IV.

     E.      Claims Based on the Fortunati Family’s Arrest

     Count III of the Complaint appears to allege claims for

false arrest and false imprisonment under both Vermont state law

and the Fourth Amendment, based on the handcuffing and arrest of

Robert, Susan, and Mark Fortunati on the evening of June 24,

2006.     On this motion, neither party clarifies these claims, and

the only legal proposition advanced is that if Defendants had

probable cause for arresting the Fortunatis, Plaintiffs’ claims

must fail.     See Jenkins v. City of New York, 478 F.3d 76, 84 (2d

Cir. 2007).

     In any event, the Court denies summary judgment with respect

to Count III because several genuine issues of material fact

exist.     Plaintiffs offer an affidavit from Robert Fortunati that

relates a significantly different version of the facts than

described in the police evidence.          Compare Paper 87-6 (stating

that there was no roadblock, the Fortunatis were not speeding,

they were not aggressive or hostile, and they did not disobey

orders) with Paper 85-7 (stating that there was a roadblock, the


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Fortunatis approached in a reckless manner, they were yelling at

the police, and they disobeyed commands).        In the face of this

factual dispute, summary judgment is inappropriate.          Fed. R. Civ.

P. 56(c).

     F.    “Wrongful Death” Claim

     In Count V of their Complaint, Plaintiffs allege “Wrongful

Death” against Protzman, Goodell, Snetsinger, Hill, Campagne, and

Thomas.    At the motion to dismiss phase, the parties appeared to

treat this count as alleging a separate cause of action, see

Paper 13 at 17-18; Paper 17-2 at 21-22, and this Court did so as

well, see Paper 19 at 16-17.      Vermont’s wrongful death statute,

however, does not create a new type of legal claim.          It simply

gives a right of recovery to a decedent’s estate based on the

injury to the deceased.     Vt. Stat. Ann. tit. 14, § 1491 (2008).

The decedent’s estate must still allege and prove a traditional

claim for injury – in state tort law or otherwise – in order to

recover.    See, e.g., Clymer v. Webster, 596 A.2d 905, 909 (Vt.

1991) (“[Vermont’s wrongful death act]. . . does not create a new

cause of action, but rather a new right of recovery or new

element of damages engrafted upon the already existing cause of

action.” (internal quotations omitted)); Berry v. Rutland Ry.

Co., 154 A. 671, 672 (Vt. 1931) (noting that Vermont’s wrongful

death statute “does not give a new right of action, but a new

right of recovery, not existing at common law, arising from the


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injury to the deceased which gave or would have given him a right

of action if death had not ensued”); Legg v. Britton, 24 A. 1016

(Vt. 1892).   Because Vermont’s wrongful death statute does not

create a new legal theory for recovery, Defendants’ Motion for

Summary Judgment is granted with respect to Count V.15

     IV.   Conclusion

     For the foregoing reasons, Defendants’ Motion for Summary

Judgment is GRANTED with respect to Plaintiffs’ claims based on

Joseph’s injuries and death (Counts I, II, and IV).          Defendants’

motion is also GRANTED with respect to Plaintiffs’ “wrongful

death” allegations in Count V.      Defendants’ motion is DENIED,

however, with respect to Plaintiffs’ claims based on the

Fortunati family’s arrest (Count III).

     Dated at Brattleboro, in the District of Vermont, this 29th

day of December, 2009.


                                  /s/ J. Garvan Murtha
                                  Honorable J. Garvan Murtha
                                  Senior United States District Judge




     15
       Vermont’s wrongful death statute could have been relevant
in determining damages, if Plaintiffs had established liability
for Joseph’s injury and death, but it adds nothing at the stage
of determining liability. Clymer, 596 A.2d at 909.

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